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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


CAROLYN ANN MILLER,

      Plaintiff,

vs.                                            Case No. 4:20cv514-MW-MAF

EBS SECURITY, INC.,
PRINTELLA BUCKHEAD,

     Defendants.
_________________________/


                                   ORDER

      Plaintiff, proceeding pro se, initiated this case in late October 2020 by

submitting a complaint pursuant to Title VII, ECF No. 1, and a motion for

leave to proceed in forma pauperis, ECF No. 2. Plaintiff’s motion was

granted and Plaintiff’s complaint, ECF No. 1, reviewed. ECF No. 4.

Finding the complaint insufficient as filed, Plaintiff was directed to file an

amended complaint which presented factual allegations to support her

claims, and to provide those allegations in short numbered paragraphs. Id.

      Plaintiff has not yet complied, but she did submit an untitled

document confirming her address, ECF No. 5, and most recently, a motion
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requesting the appointment of counsel, ECF No. 6. Appointment of

counsel in a civil case is not a constitutional right, but a privilege that is

justified only by exceptional circumstances such as where the facts and

legal issues are so novel or complex as to require the assistance of a

trained practitioner. Fowler v. Jones, 899 F.2d 1088 (11th Cir. 1990). At

this point in the proceedings, Plaintiff’s motion will be denied. Until Plaintiff

provides an amended complaint which demonstrates a plausible claim,

there is no need to consider whether counsel is necessary.

      In light of Plaintiff’s motion and her demonstrated desire to continue

this case, Plaintiff will be granted an enlargement of time in which to file the

amended complaint. Plaintiff’s amended complaint must contain factual

allegations explaining what the Defendants did, or did not do, that Plaintiff

believes shows that she was subjected to discrimination. When doing so,

Plaintiff must present all relevant factual allegations in short, separately

numbered paragraphs. In addition, Plaintiff is reminded that if she is

attempting to assert a separate claim for retaliation, that fact must be made

clear and she must demonstrate that she raised such a claim in the charge

filed with the Equal Employment Opportunity Commission.



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      Finally, Plaintiff must also clarify whether she is attempting to bring a

claim against the employer, EBS Security, Inc., or the owner, Printella

Bankhead, or both. Plaintiff listed both Defendants on page one of the

complaint form, but only one Defendant in Section I of the form. Plaintiff

should consider that, in general, the rule in the Eleventh Circuit is that “the

proper method for a plaintiff to recover under Title VII is by suing the

employer, either by naming the supervisory employees as agents of the

employer or by naming the employer directly.” Lewis v. City of Union City,

Georgia, 934 F.3d 1169, 1189 (11th Cir. 2019) (quoting Busby v. City of

Orlando, 931 F.2d 764, 772 (11th Cir. 1991)). It is “redundant and

unnecessary” to name an employer and the owner of the business in a Title

VII action. Higdon v. Fulton Cty., Georgia, 746 F. App’x 796, 799 (11th Cir.

2018) (citing Busby). Thus, Plaintiff must consider which Defendants are

properly named in this case.

      Plaintiff’s amended complaint must contain all relevant factual

allegations. Any claims or facts not included in the amended complaint

completely will be deemed abandoned. N.D. Fla. Loc. R. 15.1. The

amended complaint filed with the Court must contain Plaintiff’s original



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signature, but Plaintiff shall also keep an identical copy for herself. Plaintiff

need not file service copies until instructed to do so by the Court.

      Accordingly, it is

      ORDERED:

      1. Plaintiff’s motion for the appointment of counsel, ECF No. 6, is

DENIED.

      2. The Clerk of Court shall forward to Plaintiff another Title VII

complaint form so Plaintiff can file an amended complaint no later than

December 29, 2020, as explained above.

      3. Failure to comply with this Court Order may result in a

recommendation of dismissal of this action.

      4. Plaintiff must immediately file a notice to the Clerk’s Office should

her address change.

      5. The Clerk of Court shall return this file upon receipt of Plaintiff’s

amended complaint or no later than December 29, 2020.

      DONE AND ORDERED on December 1, 2020.


                                    S/ Martin A. Fitzpatrick
                                    MARTIN A. FITZPATRICK
                                    UNITED STATES MAGISTRATE JUDGE

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